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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

             JOSE LUIS PIMENTAL,                       :    CRIMINAL NO.
                  Movant,                              :    1:05-CR-0477-29 -CC-GGB
                                                       :
                   v.                                  :    CIVIL ACTION NO.
                                                       :    1:09-CV-3194-CC-GGB
             UNITED STATES OF AMERICA,                 :
                 Respondent.                           :    MOTION TO VACATE
                                                       :    28 U.S.C. § 2255


                             FINAL REPORT AND RECOMMENDATION

                   Jose Luis Pimental, (“Pimental”, Movant”, or “Defendant”) has filed a motion

             to vacate sentence under 28 U.S.C. § 2255. [Doc. 1468]. Presently before the Court

             for consideration are: Movant’s § 2255 motion to vacate [Doc. 1468]; the United

             States of America’s (hereinafter “Government’s”) response to the motion to vacate

             [Doc. 1477]; and Movant’s Reply [Doc. 1481].

             I.    BACKGROUND

                   On June 26, 2007, Pimental pleaded guilty to Count One of an indictment that

             charged him with conspiring (1) to possess with the intent to distribute at least five

             kilograms of a mixture and substance containing a detectable amount of cocaine, in

             violation of 21 U.S.C. §§ 841(a)(1) & 841(b)(1)(A)(ii), and (2) to possess with the

             intent to distribute at least five hundred grams of a mixture and substance containing




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             a detectable amount of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) &

             841(b)(1)(A)(viii), all in violation of 21 U.S.C. § 846. (Docs. 875, 677).

                   Pimental’s plea agreement with the government included a provision wherein

             he waived his right to appeal his sentence or collaterally attack it, except in the event

             of an upward departure from the otherwise applicable sentencing guideline range, or

             if the government appealed. The terms of the agreement were as follows:

                   LIMITED WAIVER OF APPEAL: To the maximum extent permitted
                   by federal law, the defendant voluntarily and expressly waives the right
                   to appeal his sentence and the right to collaterally attack his sentence in
                   any post-conviction proceeding on any ground, except that the
                   defendant may file a direct appeal of an upward departure from the
                   otherwise applicable sentencing guideline range. The defendant
                   understands that this Plea Agreement does not limit the Government’s
                   right to appeal, but if the Government appeals the sentence imposed, the
                   defendant may also file a direct appeal of his sentence.

             (Doc. 875 at ¶ 12). In addition to the plea agreement, Pimental signed a separate

             statement that “I understand that the appeal waiver contained in the Plea Agreement

             will prevent me, with the narrow exceptions stated, from appealing my sentence or

             challenging my sentence in any post-conviction proceeding.” (Doc. 875 at 13).

                   During the plea hearing, the Court explained to Pimental (and his co-

             defendant) that their plea agreement contained an appeal waiver, including an explicit

             waiver of their Section 2255 rights:

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                    THE COURT: You both understand that you waive your right to appeal
                    your conviction and sentence unless the sentence is an upward departure
                    from the applicable custody guideline range; or if the Government
                    appeals, then you will be free to appeal. You will only be able to appeal
                    your sentences in those two instances. Do you both understand that? Ms.
                    Rea?

                    DEFENDANT ROJAS-REA: Yes.

                    THE COURT: Mr. Pimental?

                    DEFENDANT PIMENTAL: Yes.

                    THE COURT: Do you both also understand that you give up your right
                    to collaterally attack your sentence in a postjudgment proceeding
                    pursuant to Section 2255? Mr. Pimental?

                    DEFENDANT PIMENTAL: Yes.

             (Doc. 1385 at 20-21).

                    In addition, the Court questioned Pimental concerning the voluntariness of his

             guilty plea, and Pimental denied that he had been threatened or coerced into taking

             the plea. (Id. at 16-17). Pimental confirmed that he had had sufficient time to review

             the plea with his attorney and was satisfied with his attorney’s representation. (Id. at

             28). Pimental testified that he was pleading freely and voluntarily of his own free

             will. (Id. at 22).




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                   In its factual basis, the government proffered that if the case proceeded to trial,

             co-defendants would testify that they delivered methamphetamine to Pimental and

             that Pimental picked up and received drug proceeds. The government further

             proffered that Pimental was involved in multiple transactions each of which involved

             in excess of 500 grams or the proceeds of over 500 grams of methamphetamine. (Id.

             at 30). Pimental and his counsel stated that they were in “substantial agreement” with

             the government’s proffered factual basis. (Id. at 32). Through counsel, Pimental

             admitted that drugs were found in his house at the time of his arrest, and that on three

             prior occasions he accompanied co-conspirators to pick up sums of money that he

             knew were drug proceeds. Pimental declined to say anything when given the

             opportunity to speak about the facts. (Id.).

                    The Court concluded that there was a sufficient factual basis for Pimental’s

             plea, and stated that Pimental’s plea “[is] free of any coercive influence of any kind,

             is voluntarily made with full knowledge of the charges against [him] and the

             consequences of [his] plea; that [he is] competent to understand the proceedings and

             to enter a knowing plea; that there have been no promises of any kind made to [him]

             by anyone except as incorporated in the plea agreement set out in open court.” (Id.

             at 33). Accordingly, the Court accepted the plea. (Id.)

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                   At sentencing, the government represented that at least eight pounds of

             methamphetamine were distributed by Pimental from his house, and that 294 grams

             of methamphetamine were recovered from his house when he was arrested.

             (Doc. 1386 at 6, 11, 20, 28). The Court found that Pimental was responsible for 8

             pounds of methamphetamine plus 294 grams of methamphetamine (actual) and, based

             upon the Federal Sentencing Guidelines, applied a corresponding base offense level

             of 36. (Doc. 1386 at 30-31). After the Court subtracted five points for safety valve

             and acceptance of responsibility, Pimental’s offense level was 31. (Id. at 31-32).

             Based on the final offense level and Pimental’s criminal history category of I, the

             Court concluded that the applicable sentencing range in Pimental’s case was 108 to

             135 months. (Id. at 32).

                   On September 19, 2008, the Court sentenced Pimental to 108 months of

             imprisonment, five years of supervised release and a $100 special assessment.

             (Doc. 1186). Pimental then filed a direct appeal, which was dismissed by the Eleventh

             Circuit on July 1, 2009, based on Pimental’s valid waiver of appeal. (Doc. 1450).

             Pimental filed the pending Section 2255 motion on November 13, 2009. (Doc. 1468).

                   Additional facts are discussed in context below.




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             II.   STANDARD OF REVIEW

                   Under § 2255, individuals sentenced by a federal court can attack the sentence

             imposed by claiming one of four different grounds: "(1) that the sentence was

             imposed in violation of the Constitution or laws of the United States; (2) that the

             court was without jurisdiction to impose such sentence; (3) that the sentence was in

             excess of the maximum authorized by law; and (4) that the sentence is otherwise

             subject to collateral attack." Hill v. United States, 368 U.S. 424, 426-27 (1962); see

             generally United States v. Hayman, 342 U.S. 205 (1952). "To obtain collateral relief

             a prisoner must clear a significantly higher hurdle than would exist on direct appeal."

             United States v. Frady, 456 U.S. 152, 166 (1982). Pimental must establish that the

             facts surrounding his claim present "exceptional circumstances where the need for the

             remedy afforded by the writ of habeas corpus is apparent." Bowen v. Johnston, 306

             U.S. 19, 27 (1939).

                   This Court may deny § 2255 relief without an evidentiary hearing if "the

             motion and the files and records of the case conclusively show that the prisoner is

             entitled to no relief." 28 U.S.C. § 2255; see Long v. United States, 883 F.2d 966, 968

             (11th Cir. 1989). Under § 2255, however, an evidentiary hearing is required when

             the Court cannot determine from the record that the prisoner is entitled to no relief.


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             United States v. Marr, 856 F.2d 1471, 1472 (10th Cir. 1988). As discussed below,

             the motion and record of the case conclusively show that Pimental is not entitled to

             relief or to an evidentiary hearing.

             III.   DISCUSSION

                    Pimental’s petition is based on his contention that he believed that he would

             be sentenced (and should have been sentenced) based only on the 294 grams of

             methamphetamine found in his house at the time of his arrest for which he admitted

             responsibility. He raises the following three grounds: (1) ineffective assistance of

             trial counsel, (2) ineffective assistance of appellate counsel, and (3) his sentence is

             unreasonable.

                    A.    Ineffective Assistance of Trial Counsel

                    Pimental was represented during his plea and sentencing by attorney Patrick

             Powell. According to Pimental, Powell was ineffective because he did not make a

             sufficient effort to prevent the Court from attributing eight pounds of

             methamphetamine to him in addition to the 294 grams for which he was willing to

             accept responsibility. Specifically, Pimental alleges that Powell was ineffective

             because (1) he failed to object to the use of unreliable evidence in Pimental’s

             pre-sentence report (“PSR”) and at the sentencing hearing (Def.’s Br. at 10, 12-13);


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             (2) he failed to object “specifically and substantively” to Pimental’s sentence

             enhancement based on the additional eight pounds of methamphetamine attributed

             to him (Def.’s Br. at 10, 16); and (3) he failed to investigate, cross-examine or

             challenge the sufficiency of the evidence presented in the PSR and at the sentencing

             hearing (Def.’s Br. at 10, 12-13, 16).

                   Pimental’s claims relating to his sentencing are barred by his knowing and

             voluntary waiver of the right to collaterally attack his sentence.

                   A defendant who enters into a plea agreement may waive his right to appeal or

             collaterally challenge his sentence, and the waiver will be enforced if it is made

             knowingly and voluntarily. See United States v. Weaver, 275 F.3d 1320, 1333 (11th

             Cir. 2001), cert. denied, 536 U.S. 961 (2002); United States v. Bushert, 997 F.2d

             1343, 1350 (11th Cir. 1993). “One of the keys to enforcing a sentence appeal waiver

             is that the defendant knew he had a ‘right to appeal his sentence and that he was

             giving up that right.’” Bushert, 997 F.2d at 1350 (quoting United States v. Rutan, 956

             F.2d 827, 830 (8th Cir. 1992)). In order to prevail in an argument to enforce a

             waiver, the government must show that either “(1) the district court specifically

             questioned the defendant concerning the sentence appeal waiver during the Rule 11




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             [plea] colloquy, or (2) it is manifestly clear from the record that the defendant

             otherwise understood the full significance of the waiver.” Bushert, 997 F.2d at 1351.

                   In this case, the Court specifically questioned Pimental during the plea

             colloquy regarding the specifics of his sentence appeal waiver and determined that

             Pimental had entered into the written plea agreement – which included the appeal

             waiver – knowingly and voluntarily. In addition, both the language of the written plea

             agreement and the record of the Court’s inquiry indicate that Pimental understood that

             he was waiving a collateral attack on his sentence. Under these circumstances,

             Pimental’s sentence-appeal waiver precludes a Section 2255 claim based on

             ineffective assistance of counsel at sentencing. Williams v. United States, 396 F.3d

             1340, 1342 (11th Cir. 2005) (holding that, where defendant had knowingly and

             voluntarily waived his right to collaterally attack his sentence, his Section 2255

             claims relating to the effectiveness of counsel at sentencing were barred).

                   Pimental also alleges that his counsel was ineffective because he represented

             that Pimental would be sentenced based on only 294 grams of methamphetamine and

             Pimental entered into the plea agreement based on that representation.

                   Pimental’s appeal waiver does not preclude him from challenging his counsel’s

             effectiveness with regard to the validity of his plea agreement. Williams, 396 F.3d


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              at 1342 n.2 (citing United States v. White, 307 F.3d 336, 343 (5th Cir. 2002)) (“[A]n

              ineffective assistance of counsel argument survives a waiver of appeal only when the

              claimed assistance directly affected the validity of that waiver or the plea itself.”).

              The standard for evaluating ineffective assistance of counsel claims was set forth in

              Strickland v. Washington, 466 U.S. 668 (1984). The analysis is two-pronged, and the

              court may “dispose of ineffectiveness claims on either of its two grounds.” Atkins v.

              Singletary, 965 F.2d 952, 959 (11th Cir. 1992); see also Strickland, 466 U.S. at 697

              (“[T]here is no reason for a court deciding an ineffective assistance claim . . . to

              address both components of the inquiry if the defendant makes an insufficient

              showing on one.”).

                    Pimental must first show that “in light of all the circumstances, the identified

              acts or omissions were outside the wide range of professionally competent

              assistance.” Strickland, 466 U.S. at 690. The Court must be “highly deferential,” and

              must “indulge in a strong presumption that counsel’s conduct falls within the wide

              range of reasonable professional assistance.” Id. at 689. “To overcome Strickland’s

              presumption of reasonableness, [Movant] must show that ‘no competent counsel

              would have taken the action that his counsel did take.’” Allen v. Secretary, Florida




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              Dep’t of Corr., 611 F.3d 740, 751 (11th Cir. 2010) (quoting Chandler v. United

              States, 218 F.3d 1305, 1315 (11th Cir. 2000) (en banc)).

                    The Strickland standard also applies to challenges to guilty pleas based on

              ineffective assistance of counsel. Hill v. Lockhart, 474 U.S. 52, 57-58 (1985). Where,

              as here, a defendant charges that his guilty plea was obtained as a result of the

              ineffective assistance of counsel, he must show that the advice that he received “fell

              below an objective standard of reasonableness” and “that there is a reasonable

              probability that, but for counsel’s errors, he would not have pleaded guilty and would

              have insisted on going to trial.” Hill, 474 U.S. at 57, 59.

                    Pimental’s claim that his counsel did not effectively explain his sentence

              exposure is not supported by the record. Pimental was informed, both in the plea

              agreement and during his plea colloquy, that he could receive any sentence up to and

              including life imprisonment. During the plea colloquy, Pimental himself denied that

              he had been promised any sentence or specific guideline range.

                    The plain language of the plea agreement informed Pimental that he was

              subject to a statutory minimum of ten years’ imprisonment and a maximum of life

              imprisonment. (Doc. 875 at ¶ 3). Pimental was again advised of his maximum

              sentence exposure during the plea colloquy. (Doc. 1385 at 12-13). At that time, the


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              Court also confirmed with the prosecutor that Pimental had been informed of the

              maximum penalties. (Doc. 1385 at 15).

                    Pimental’s plea agreement also stated that “[t]he defendant also understands

              that no one can predict his exact sentence at this time.” (Doc. 875 at ¶ 3). During the

              plea colloquy, Pimental denied that he was ever advised of any specific sentence or

              promise of leniency in connection with his plea:

                    THE COURT: Thank you. As to both of you, has anyone made you any
                    promises of leniency, a particular sentence or a light sentence or a
                    concurrent sentence, probation, or held out to you any inducement of
                    any kind to get you to plead guilty? Mr. Pimental?

                    PIMENTAL: No

                                                      ***

                    THE COURT: Have you been told by anyone what sentence this Court would
                    actually impose in the event you pled guilty to Count One or Count Thirteen
                    of this indictment? Mr. Pimental?

                    PIMENTAL: No.

              (Doc. 1385 at 18). Pimental’s counsel, Patrick A. Powell, represented to the Court

              that he had not advised Pimental that a specific sentence would be imposed:

                    THE COURT: Has either of you given your client any indication what
                    sentence this Court would impose in the event he or she pled guilty to
                    Counts One or Thirteen of this indictment? Mr. Duponte?

                    MR. DUPONTE: No, Your Honor, I have not.

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                    THE COURT: Mr. Powell?

                    MR. POWELL: No, Your Honor.

              (Doc. 1385 at 27). Pimental himself represented to the Court that he understood that

              a sentence could not be determined until after the preparation of a pre-sentence report.

              (Id. at 19). In his Section 2255 motion, Pimental presents no evidence to undermine

              the veracity of the statements made during the plea colloquy.

                    “[T]he representations of the defendant, his lawyer, and the prosecutor at . . .

              a [plea] hearing, as well as any findings made by the judge accepting the plea,

              constitute a formidable barrier in any subsequent collateral proceedings. Solemn

              declarations in open court carry a strong presumption of verity.” Blackledge v.

              Allison, 431 U.S. 63, 73-74 (1977). Based upon the record, it is clear that Pimental

              understood, at the time he entered his plea, that he was not guaranteed a sentence

              based only upon 294 grams of methamphetamine. Pimental was repeatedly told that

              the Court could impose any sentence up to and including life imprisonment. Thus,

              Pimental has failed to establish that counsel’s actions were unreasonable or that, but

              for counsel’s actions in negotiating the plea agreement, Pimental would not have

              pleaded guilty.



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                    Even if Mr. Powell had incorrectly advised Pimental about the amount of drugs

              that would be attributed to Pimental at sentencing, Pimental cannot show that he

              suffered any prejudice as a result: Pimental’s 108-month sentence is significantly

              shorter than his potential maximum sentence of life imprisonment. Teague v. United

              States, No. 1:06-cr-0355-TWT-GGB, 2009 WL 3112014, at *4 (N.D. Ga. Sept. 25,

              2009)(holding that defendant had not been prejudiced where “[m]ovant’s 188-month

              sentence was much lower than the 480-month possible maximum sentence”) (citing

              United States v. Bradley, 905 F.2d 359, 360 (11th Cir. 1990) (finding that counsel’s

              incorrect calculation of defendant’s sentence and offense level “did not warrant

              withdrawal of the guilty plea where Bradley acknowledged to the court that he

              understood the possible maximum sentence for his crime to be greater than the

              sentence the court ultimately imposed”)); Cruz v. United States, 188 F. App’x 908,

              914 (11th Cir. 2006) (declining to find prejudice where the court had informed the

              defendant of “the maximum penalties and that the sentence imposed could be

              different from any estimate given to her by her lawyer or anyone else”); and Stewart

              v. United States, 1:07-cv-3045-TWT, 2009 WL 909547, at *10-11 (N.D. Ga. April 2,

              2009) (rejecting ineffective assistance claim based on counsel’s incorrect calculation

              of the Sentencing Guidelines where defendant was informed during plea colloquy of


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              the maximum penalties and stated that no sentence had been promised to him).

              Accordingly, Pimental has failed to make the requisite showing of prejudice to

              sustain a claim of ineffective assistance of trial counsel.

                    B.      Ineffective Assistance of Appellate Counsel

                    Pimental also claims that his appellate counsel was ineffective for failing to

              argue that (1) his plea was involuntary, (2) unreliable evidence was used at his

              sentencing, and (3) the district court erred in attributing the additional 8 pounds of

              methamphetamine to him. (Def.’s Br. at 23-26). A defendant has the right to

              assistance of counsel in his direct appeal. Evitts v. Lucey, 469 U.S. 387, 392, 397-99

              (1985). The effectiveness of appellate counsel is governed by the Strickland standard.

              Heath v. Jones, 941 F.2d 1126, 1130 (11th Cir. 1991) (citing Strickland, 466 U.S. at

              668). As set forth above, Pimental’s claims with respect to his sentencing are barred

              by his appeal waiver, and the claim that his plea was involuntary is not supported by

              the record. Appellate counsel is not ineffective for failing to raise claims “reasonably

              considered to be without merit.” Alvord v. Wainwright, 725 F.2d 1282, 1291 (11th

              Cir. 1984).




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                    C.     Reasonableness of Sentence

                    Pimental also argues that his sentence was unreasonable because he only

              acknowledged responsibility for 294 grams of methamphetamine. (Doc. 1468 at 48-

              51). This argument is precluded by Pimental’s valid sentence-appeal waiver. See

              e.g., United States v. Martinez-Barrera, 348 F. App’x 533 (11th Cir. 2009) (holding

              general appeal waiver broad enough to encompass a reasonableness challenge);

              United States v. Hernandez-Zaldivar, 342 F. App’x 571 (11th Cir. 2009) (declining

              to review sentence for reasonableness based on broadness of valid sentence appeal

              waiver).

              IV.   CERTIFICATE OF APPEALABILITY

                    According to Rule 11 of the Rules Governing Section 2255 Proceedings for the

              United States District Courts, a district court “must issue or deny a certificate of

              appealability when it enters a final order adverse to the applicant.” Under 28 U.S.C.

              § 2253(c)(2), a certificate of appealability shall not issue unless “the applicant has

              made a substantial showing of the denial of a constitutional right.” A prisoner

              satisfies this standard by demonstrating that reasonable jurists would find that the

              district court’s assessment of his constitutional claims is debatable or wrong and that

              any dispositive procedural ruling by the district court is likewise debatable. See


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              Miller-El v. Cockrell, 537 U.S. 322, 336 (2003); Slack v. McDaniel, 529 U.S. 473,

              484 (2000).

                    Pimental has failed to make a substantial showing of the denial of a

              constitutional right. Pimental waived his right to collaterally attack his sentence, and

              his grounds for relief not barred by the waiver are otherwise without merit.

              Accordingly, I RECOMMEND that a certificate of appealability be DENIED.

              V.    CONCLUSION

                    Based on the foregoing, I RECOMMEND that Movant Jose Luis Pimental’s

              motion to vacate sentence [Doc. 1468] be DENIED, and that he be DENIED a

              certificate of appealability.

                    The Clerk is DIRECTED to terminate the referral to me.

                    IT IS SO RECOMMENDED, this 14th day of September, 2011.




                                                      GERRILYN G. BRILL
                                                      UNITED STATES MAGISTRATE JUDGE




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